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                                            UNITED STATES DISTRICT COURT
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                                                     DISTRICT OF NEVADA
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          10                                                       ***
          11      UNITED STATES OF AMERICA,              )                      Case No.: 2:10-cr-00172-RLH-GWF
                                                         )
          12                        Plaintiff,           )                                   ORDER
                                                         )
          13            vs.                              )                           (Request for Leave - #269)
                                                         )
          14      MOSHE BARMUHA,                         )
                                                         )
          15                        Defendant.           )
                  _______________________________________)
          16
          17                     Before the Court is Defendant Moshe Barmuha’s Request for Leave to File

          18      Affidavit in Support of Motion Under § 2255 (#269) filed on January 23, 2015. Attached to the

          19      Request for Leave is a three-page affidavit written in the Hebrew language. The Court ORDERS

          20      that the U.S. District Court Clerk’s Office procure a translator to translate the affidavit into the

          21      English language.

          22
          23                     Dated: February 2, 2015.

          24
          25                                                             ____________________________________
                                                                         ROGER L. HUNT
          26                                                             United States District Judge


AO 72                                                                1
(Rev. 8/82)
